 Case 19-20068-rlj7 Doc 13 Filed 04/26/19                      Entered 04/26/19 14:44:04               Page 1 of 2



Braden P. Barnes / TXBN 24059423
Chandra D. Pryor / CABN 320903
Bonial & Associates, P.C.
14841 Dallas Parkway, Suite 425
Dallas, Texas 75254
(972) 643-6600
(972) 643-6698 (Telecopier)
E-mail: BkcyAttorneys@BonialPC.com
                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                         AMARILLO DIVISION
 IN RE:                                                  §
                                                         §        CASE NO. 19-20068-RLJ7
 BRENDA LONG                                             §        CHAPTER 7
      DEBTOR(S)                                          §
                                                         §
 NATIONSTAR MORTGAGE LLC D/B/A MR.                       §
 COOPER                                                  §
       MOVANT                                            §
 VS                                                      §
 BRENDA LONG                                             §
 AND KENT DAVID RIES, TRUSTEE
       RESPONDENTS
                              MOVANT'S LIST OF WITNESSES AND EXHIBITS
TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          The following are the witnesses and exhibits, Nationstar Mortgage LLC d/b/a Mr. Cooper, as servicing agent

for Federal National Mortgage Association (hereinafter referred to as "Movant"), intends to call and utilize at the final

hearing on its Motion for Relief from Stay Against Property.

                                                      Movant's Witnesses

          1.    Attorney for Movant
          2.    Debtor(s)
          3.    Attorney for Debtor
                                                   Movant's Exhibits
          Exhibit 1        Affidavit

                                                       Respectfully submitted,
                                                       Bonial & Associates, P.C.

                                                        /s/ Chandra D. Pryor             _______________
                                                       Braden P. Barnes / TXBN 24059423
                                                       Chandra D. Pryor / CABN 320903
                                                       Attorneys and Counselors
                                                       14841 Dallas Parkway, Suite 425
                                                       Dallas, Texas 75254
                                                       (972) 643-6600/(972) 643-6698 (Telecopier)
                                                       E-mail: BkcyAttorneys@BonialPC.com
                                                       Attorney for Nationstar Mortgage LLC d/b/a Mr. Cooper




MOTION FOR RELIEF                                                                                    WitLstNCD_Ver1
                                                                                                         5957-N-2876
  Case 19-20068-rlj7 Doc 13 Filed 04/26/19                      Entered 04/26/19 14:44:04               Page 2 of 2



                                            CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the foregoing document has been served upon the following
parties in interest either via pre-paid regular U.S. Mail or via electronic notification on or before the 29th day of April
2019:
Debtor              Via U.S. Mail
Brenda Long
4900 Reding Rd
Amarillo, TX 79108-6836


Debtor's Attorney
Patrick Alan Swindell
Swindell Law Firm
106 SW 7th Ave
Amarillo, TX 79101-2518

Chapter 7 Trustee
Kent David Ries
2700 S Western Street Suite 300
Amarillo, Texas 79106


US Trustee
Office of the U.S. Trustee
1100 Commerce Street, Room 976
Dallas, Texas 75242

Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541

Lane & Countryman
Attorney at Law
8526 N New Braunfels
San Antonio, TX 78217

 19-20068-RLJ7                                                 /s/ Chandra D. Pryor
                                                               Braden P. Barnes
                                                               Chandra D. Pryor




MOTION FOR RELIEF - CERTIFICATE OF SERVICE                                                                    5957-N-2876
                                                                                                          MFR_COSLstWitn
